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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
In re: Oil Spill by the Oil Rig “Deepwater MDL NO. 2179
Horizon” in the Gulf of Mexico, on April
20, 2010 SECTION: J
JUDGE BARBIER

MAGISTRATE JUDGE SHUSHAN

ORDER
Considering the foregoing Joint Motion to Substitute Counsel of Record
IT IS HEREBY ORDERED that Jennifer N. Willis and the law firm of Willis & Buckley,
be permitted to withdraw as counsel of record for plaintiff Harvey Cheramie, Jr. and that Francis
I. Spagnoletti and the law firm of Spagnoletti & Co. be substituted and enrolled as counsel of
record for plaintiff Harvey Cheramie, Jr.

New Orleans, Louisiana, this day of , 2011.

JUDGE, United States District Court
